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STATE OF MISSISSIPPI
COUNTY OF JONES
AFFIDAVIT

Personally appeared before me the undersigned authority, in and for said county
and state, Jeff Monk, who after being duly sworn states on oath as follows:

1. I, Jeff Monk, am of the age of majority and competent to testify about the
matters stated herein and make this affidavit having full personal knowledge of the
facts contained herein.

2. I am currently employed by the Jones County Sheriff’s Department.

3. On December 14, 2016, I was not involved in the arrest of David Williams.

4, I arrived at the scene after Mr. Williams had been handcuffed and placed
in a police car.

5. I did not use any force on Mr. Williams much less excessive force at any

point in time and deny any allegations to the contrary.

Gg flee

Sworn and subscribed before me this the IT ay of October, 2018.

Further, the Affiant saith not.

i
*

NOTARY PUBLIC

My Commission Expires:

vA 0"
sa. 1D #98672 Ls
? KAREN BUSTIN

~ S.Commission Expires! +

